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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

LEVI STRAUSS & CO.,
                                                     Case No. 18-cv-05866
                       Plaintiff,
                                                     Judge Charles P. Kocoras
       v.
                                                     Magistrate Judge Sidney I. Schenkier
A&Z BABY STORE, et al.,

                       Defendants.


                    NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Levi Strauss

& Co. (“LS&Co.”), hereby dismisses this action with prejudice against the following

Defendants:

            Defendant Name                                        Line No.
            Oh Oh baby Store                                         26
             CoCo123 Store                                           54
           Girl's Online Store                                       62
     Ms Advanced Customization Store                                 78
           shuoshuomei Store                                         96
             yaya baby store                                        113

Dated this 24th day of May 2019.                   Respectfully submitted,

                                                   /s/ Justin R. Gaudio
                                                   Amy C. Ziegler
                                                   Justin R. Gaudio
                                                   RiKaleigh C. Johnson
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